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                          EXHIBIT A
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From: "Simpson, Andrea" <asimpson@radaronline.com>
Date: Tuesday, September 11, 2018 at 2:26 PM
To: "Robertson, James" <jrobertson@amilink.com>
Subject: another great story - crossing fingers

My source has another potentially great story he says his friend works for a Bill Gates-type, well-known billionaire who is married
and having an affair with a B-list married actress. Been going on for 2 years. This mega-millionaire was bragging via text to this
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friend who is a lower level exec in entertainment (but still reputable) and decided to send him a text about the actress he s having
an affair with.

Well, in doing that he inadvertently texted him dick pics, maybe 8 pics with his face (working out etc), sexy photos of the actress
and sexual texts between the two.

I m trying to get a meeting with the guy and my source who wants to sell this for a huge amount of $.

I told my source let s meet and go from there so I can get the name, see the pics.

Keep you posted.
